Case: 1:24-cv-04998 Document #: 31 Filed: 10/21/24 Page 1 of 2 PageID #:851




                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS



 INTERNATIONAL CODE COUNCIL,
 INC. and ICC EVALUATION SERVICE,
 LLC,

                      Plaintiffs,
        v.                                    Civil   Action   No.    1:24-cv-04998
 DRJ ENGINEERING, LLC, and DRJ EN-
 GINEERING, LLC

                      Defendants.


________________________________________________________________________

                             MOTION TO WITHDRAW
________________________________________________________________________

 TO:    Attorney Brian O’Donnell              DrJ Engineering, LLC
        Attorney Brent Hawkins                A Wisconsin Limited Liability Company
        Attorney Katie Feiereisel             6300 Enterprise Lane
        Morgan Lewis                          Madison, WI 53719
        110 N. Wacker Drive, Suite 2800
        Chicago, IL 60606-1511                DrJ Engineering, LLC
                                              An Illinois Limited Liability Company
        Attorney Martin Syvertsen             6300 Enterprise Lane
        Attorney Steven Pearson               Madison, WI 53719
        Attorney Adam Toosley
        Smith Gambell Russell Law Firm
        311 S. Wacker Drive, Suite 3000
        Chicago, IL 60606



    PLEASE TAKE NOTICE that counsel for the above-named Defendants DrJ Engi-

neering, LLC and DrJ Engineering, LLC, Palmersheim Dettmann, S.C., by Erin E. Rome

and Cathleen A. Dettmann, moves the Court to permit Palmersheim Dettmann, S.C., Erin

E. Rome and Cathleen A. Dettmann, to withdraw from the representation of Defendants in




                                          1
Case: 1:24-cv-04998 Document #: 31 Filed: 10/21/24 Page 2 of 2 PageID #:852




the above-captioned matter. This Motion is made in compliance with Wisconsin SCR

20:1.16(a)(3) and Northern District of Illinois LR83.51.16(a)(4). All Defendants have con-

sented to counsel’s withdrawal.



     Dated this 21st day of October, 2024.



                                             PALMERSHEIM DETTMANN, S.C.


                                             Electronically signed by Erin E. Rome
                                             Erin E. Rome
                                             Wisconsin State Bar #1083092
                                             Cathleen A. Dettmann
                                             Wisconsin State Bar #1048315
                                             Attorneys for Defendants
                                             1424 N. High Point Road, Ste. 202
                                             P.O. Box 628005
                                             Middleton, WI 53562-8005
                                             (608) 836-6400




                                             2
